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                                              U.S. Department of Justice
                                                            United States Attorney
                                                            District of Maryland

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                                                                  May 14, 2021


The Honorable Catherine C. Blake
United States District Court for the District of Maryland
101 W. Lombard St.
Baltimore, MD 21201

           RE:        United States v. Davante Harrison, et al.
                      Criminal Number CCB 19-575

Dear Judge Blake:

        This is the seventh status letter for the above-captioned case. There are two defendants
charged in this case. The Government spoke with counsel for both Mr. Harrison and Mr. Jerry
yesterday. Both Mr. Jerry and Mr. Harrison have asked their attorneys to file motions to suppress
and intend to proceed to trial

           Please let me know if there are any questions.

                                                                  Sincerely,

                                                                  Jonathan F. Lenzner
                                                                  Acting United States Attorney

                                                                  ____/S/_____________________________
                                                                  Christine Goo
                                                                  Assistant United States Attorney


CC:        Tyler Mann, Esquire
           John Cox, Esquire
